09-50026-mg   Doc 10895-3 Filed 09/19/11 Entered 09/19/11 16:24:18   Exhibit
                   Exhibit C - Written statement Pg 1 of 4
09-50026-mg   Doc 10895-3 Filed 09/19/11 Entered 09/19/11 16:24:18   Exhibit
                   Exhibit C - Written statement Pg 2 of 4
09-50026-mg   Doc 10895-3 Filed 09/19/11 Entered 09/19/11 16:24:18   Exhibit
                   Exhibit C - Written statement Pg 3 of 4
09-50026-mg   Doc 10895-3 Filed 09/19/11 Entered 09/19/11 16:24:18   Exhibit
                   Exhibit C - Written statement Pg 4 of 4
